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MINUTE ENTRY
DOUGLAS, M.J.
DECEMBER 11, 2019

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

SARA MAMMARELLA                                                        CIVIL ACTION

VERSUS                                                                 NO. 18-14238

NEW ORLEANS CITY                                                       SECTION "J" (3)

       On this date, the Motion to Compel In-Person Deposition and Interrogatory Verification

[Doc. #18] came on for oral hearing before the undersigned.   Present were Madison Pitre and

David Spinner on behalf of plaintiff and Erica Therio and Corwin St. Raymond on behalf of

defendant. For the reasons stated on the record,

       IT IS ORDERED that the Motion to Compel In-Person Deposition and Interrogatory

Verification [Doc. #18] is DISMISSED AS MOOT IN PART with regard to the verification and

GRANTED IN PART with regard to the in-person deposition.




                                            DANA M. DOUGLAS
                                            UNITED STATES MAGISTRATE JUDGE




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